                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                  DETROIT DIVISION

In the matter of:
                                                      Case No.: 18-51298-PJS
Joanne Ackerman
                                                      Chapter 7
                                                      Judge: Hon. Phillip J. Shefferly
         Debtor(s).
                                                /


  ORDER APPROVING STIPULATION WITHDRAWING TRUSTEE’S MOTION TO
             EMPLOY BK GLOBAL REAL ESTATE SERVICES


       The Court having reviewed the Stipulation between the affected parties,

       IT IS HEREBY ORDERED that the Trustee’s Motion to Employ BK Global Real Estate

Services is withdrawn without prejudice.




Signed on June 12, 2019




   18-51298-pjs       Doc 35   Filed 06/12/19       Entered 06/12/19 15:54:02      Page 1 of 1
